              Case 1:21-cv-00213-CJN Document 2 Filed 01/25/21 Page 1 of 9




                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

                                                         )
 US DOMINION INC.,                                       )
                                                         )
 DOMINION VOTING SYSTEMS INC., and                       )
                                                         )
 DOMINION VOTING SYSTEMS                                 )
 CORPORATION,                                            )
                                                         )
          Plaintiffs,                                    )
                                                         )
               v.                                        )     Case No. 1:21-cv-00213
                                                         )
 RUDOLPH W. GIULIANI                                     )
                                                         )
          Defendant.                                     )
                                                         )

                                   NOTICE OF FILING EXHIBITS

         1.         Plaintiffs hereby give notice of filing the attached exhibits, which are exhibits to

the Complaint filed on January 25, 2021 [D.E. 1].

         2.         Due to their nature, the exhibits listed below are unable to be filed electronically

through the Court’s ECF System. Therefore, a transcribed copy of each exhibit has been

electronically filed through the Court’s ECF System with the corresponding Exhibit Number, unless

otherwise noted. Upon request, Plaintiffs can arrange for files of the below listed exhibits to be

delivered to the Court.

 Exhib                            Description                                    Location
 it No.
  14-V        WATCH: Georgia election officials reject Trump        This exhibit is maintained by
              call to ‘find’ more votes, PBS (Jan. 4,               counsel and available upon
              2021), available at, https://www.pbs.org/newshou      request. As it is an audio/video,
              r/politics/watch-live-georgia-secretary-of-states-    the exhibit is not in a format that
              office-holds-press-conference.                        readily permits electronic filing.
  22-V        Patrick Byrne Explains Trump Path to Victory,         This exhibit is maintained by
              Corsi Nation (Dec. 24, 2020), available at,           counsel and available upon
              https://www.stitcher.com/show/corsi-nation-by-        request. As it is an audio/video,


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        jerome-r-corsi-phd/episode/dr-corsi-news-12-24-      the exhibit is not in a format that
        20-patrick-byrne-explains-trump-path-to-victory-     readily permits electronic filing.
        80388895.
32-V    Trump Campaign News Conference on Legal              This exhibit is maintained by
        Challenges, CSPAN (Nov. 19, 2020),                   counsel and available upon
        available at, https://www.c-                         request. As it is an audio/video,
        span.org/video/?478246-1/trump-campaign-             the exhibit is not in a format that
        alleges-voter-fraud-states-plans-lawsuits.           readily permits electronic filing.
33-V    MUST-SEE: Tucker Carlson ABANDONS                    This exhibit is maintained by
        Trump’s election fraud case on air, YouTube          counsel and available upon
        (Nov. 19, 2020), available at, https://www.youtub    request. As it is an audio/video,
        e.com/watch?v=BspHzH6RRxo.                           the exhibit is not in a format that
                                                             readily permits electronic filing.
36-V    Sidney Powell: It will be BIBLICAL, Newsmax          This exhibit is maintained by
        TV (Nov. 21, 2020), available at, https://www.yo     counsel and available upon
        utube.com/embed/Y68pEknYyCM?rel=0&start=             request. As it is an audio/video,
        0.                                                   the exhibit is not in a format that
                                                             readily permits electronic filing.
44-V    Sidney Powell, Lin Wood attend ‘Stop the Steal’      This exhibit is maintained by
        rally in Georgia, YouTube (Dec. 2,                   counsel and available upon
        2020), available at, https://www.youtube.com/wat     request. As it is an audio/video,
        ch?v=pq-_B5z3QIA.                                    the exhibit is not in a format that
                                                             readily permits electronic filing.
109-V   Lou Dobbs Tonight, Fox Business (Nov. 12,            This exhibit is maintained by
        2020), available at, https://twitter.com/LouDobbs/   counsel and available upon
        status/1327024215887851521.                          request. As it is an audio/video,
                                                             the exhibit is not in a format that
                                                             readily permits electronic filing.
110-V   Chat with the Mayor: Major Challenges,               This exhibit is maintained by
        77WABC (broadcast from Washington, D.C.              counsel and available upon
        Nov. 13, 2020), available at, https://wabcradio.co   request. As it is an audio/video,
        m/episode/major-challenges-11-13-2020/.              the exhibit is not in a format that
                                                             readily permits electronic filing.
112-V   REVEALED: Sworn Evidence of Pervasive Voter          This exhibit is maintained by
        Fraud, Rudy Giuliani’s Common Sense (broadcast       counsel and available upon
        from      Washington,      D.C.       Nov.   13,     request. As it is an audio/video,
        2020), available at,                                 the exhibit is not in a format that
        https://www.youtube.com/watch?v=sd-                  readily permits electronic filing.
        5Xm5PFmg.
114-V   Uncovering the Truth with Rudy Giuliani & Dr.        This exhibit is maintained by
        Maria Ryan: Voter Fraud, 77WABC (Giuliani’s          counsel and available upon
        appearance broadcast from Washington D.C. Nov.       request. As it is an audio/video,
        15,          2020),          available        at,    the exhibit is not in a format that
        https://wabcradio.com/podcast/uncovering-the-        readily permits electronic filing.
        truth-with-rudy-giuliani-maria-ryan/.



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115-V   Giuliani: Trump is contesting the election             This exhibit is maintained by
        ‘vigorously’ in the courts, Fox News (Giuliani’s       counsel and available upon
        interview broadcast from Washington, D.C. Nov.         request. As it is an audio/video,
        15,           2020),          available          at,   the exhibit is not in a format that
        https://video.foxnews.com/v/6209933935001#sp           readily permits electronic filing.
        =show-clips.
116-V   Chat with the Mayor: Those are the Facts,              This exhibit is maintained by
        77WABC (broadcast from Washington, D.C.                counsel and available upon
        Nov. 18, 2020), available at, https://wabcradio.co     request. As it is an audio/video,
        m/podcast/rudy-giuliani/.                              the exhibit is not in a format that
                                                               readily permits electronic filing.
117-V   American Votes Tallied in Foreign Countries,           This exhibit is maintained by
        Rudy Giuliani’s Common Sense (broadcast                counsel and available upon
        from Washington, D.C. Nov. 18, 2020),                  request. As it is an audio/video,
        available at, https://www.youtube.com/watch?v=         the exhibit is not in a format that
        VOG1yOjSAd4.                                           readily permits electronic filing.
119-V   Giuliani returns to court to argue Trump               This exhibit is maintained by
        campaign’s election case, Fox Business                 counsel and available upon
        (Giuliani interview broadcast from Washington,         request. As it is an audio/video,
        D.C. Nov. 18, 2020), available at, https://video.fo    the exhibit is not in a format that
        xbusiness.com/v/6210778333001?playlist_id=93           readily permits electronic filing.
        3116636001.
120-V   Chat with the Mayor: Fraud and Lies, 77WABC        This exhibit is maintained by
        (broadcast from Washington, D.C.                   counsel and available upon
        Nov. 19, 2020), available at, https://wabcradio.co request. As it is an audio/video,
        m/episode/those-are-the-facts-11-18-2020/.         the exhibit is not in a format that
                                                           readily permits electronic filing.
121-V   Giuliani: Dems plotted ‘national conspiracy’ to This exhibit is maintained by
        steal 2020 election, Fox News (Giuliani’s counsel and available upon
        interview broadcast from Washington, D.C.          request. As it is an audio/video,
        Nov. 19, 2020), available at, https://video.foxnew the exhibit is not in a format that
        s.com/v/6211099886001?playlist_id=930909813 readily permits electronic filing.
        001.
122-V   Chat with the Mayor: The Mob Was Easier to         This exhibit is maintained by
        Deal With, 77WABC (broadcast from                  counsel and available upon
        Washington, D.C. Nov. 20, 2020), available at,     request. As it is an audio/video,
        https://wabcradio.com/episode/the-mob-was-         the exhibit is not in a format that
        easier-to-deal-with-11-20-2020/.                   readily permits electronic filing.
        .
123-V   Legal Strategy: Multiple Pathways to Victory, This exhibit is maintained by
        Rudy Giuliani’s Common Sense (broadcast counsel and available upon
        from Washington, D.C. Nov. 20, 2020),              request. As it is an audio/video,
        available at, https://www.youtube.com/watch?v= the exhibit is not in a format that
        H0h6sRuC8bQ.                                       readily permits electronic filing.




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128-V   Rudy Giuliani on Trump election fight: We have         This exhibit is maintained by
        ‘1,000 affidavits from witnesses in 6                  counsel and available upon
        different states,’ Fox News (Dec. 12, 2020),           request. As it is an audio/video,
        available at, https://video.foxnews.com/v/621588       the exhibit is not in a format that
        2367001?playlist_id=930909787001.                      readily permits electronic filing.
133-V   Joe Pags Show, Twitch (Dec. 14, 2020),                 This exhibit is maintained by
        available at, https://www.twitch.tv/videos/837601      counsel and available upon
        732?filter=all&sort=time.                              request. As it is an audio/video,
                                                               the exhibit is not in a format that
                                                               readily permits electronic filing.
134-V   DISCOVERY: 68% ERROR Rate in Votes                     This exhibit is maintained by
        PROVES Intentional Fraud, Rudy Giuliani’s              counsel and available upon
        Common Sense (broadcast from Washington,               request. As it is an audio/video,
        D.C. Dec. 18, 2020), available at, https://www.yo      the exhibit is not in a format that
        utube.com/watch?v=UUtmBrgIC9w.                         readily permits electronic filing.
135-V   The Glenn Beck Program, Blaze TV (Dec. 17,             This exhibit is maintained by
        2020), available at,                                   counsel and available upon
        https://twitter.com/glennbeck/status/13397220415       request. As it is an audio/video,
        45555968.                                              the exhibit is not in a format that
                                                               readily permits electronic filing.
136-V   Uncovering the Truth with Rudy Giuliani &              This exhibit is maintained by
        Dr. Maria Ryan, 77WABC (Dec. 20, 2020),                counsel and available upon
        available at, https://wabcradio.com/episode/uncov      request. As it is an audio/video,
        ering-the-truth-12-20-20/.                             the exhibit is not in a format that
                                                               readily permits electronic filing.
137-V   This Has NEVER Occurred in U.S. History, Rudy          This exhibit is maintained by
        Giuliani’s     Common         Sense     (Jan.    15,   counsel and available upon
        2021), available at, https://www.iheart.com/podca      request. As it is an audio/video,
        st/867-rudy-giulianis-common-sens-                     the exhibit is not in a format that
        72908742/episode/this-has-never-occurred-in-us-        readily permits electronic filing.
        76308324/.
138-V   Chat with the Mayor: Capital Riot Aftermath,           This exhibit is maintained by
        77WABC (broadcast from Washington, D.C.                counsel and available upon
        Jan. 8, 2021), available at, https://wabcradio.com/    request. As it is an audio/video,
        episode/capital-riot-aftermath-01-08-21/.              the exhibit is not in a format that
                                                               readily permits electronic filing.
147-V   Christmas is NOT CANCELLED, It’s Vital This            This exhibit is maintained by
        Year, Rudy Giuliani’s Common Sense                     counsel and available upon
        (broadcast from Washington. D.C. Dec. 23,              request. As it is an audio/video,
        2020), available at, https://www.youtube.com/wat       the exhibit is not in a format that
        ch?v=FkvvtuVsyUA.                                      readily permits electronic filing.
162-V   WHO Will Be Our PRESIDENT? The Current                 This exhibit is maintained by
        State of Our Country, Rudy Giuliani’s Common           counsel and available upon
        Sense      (broadcast        from      Washington,     request. As it is an audio/video,
        D.C. Dec. 25, 2020), available at, https://www.yo      the exhibit is not in a format that
        utube.com/watch?v=NAzCECx8XeE.                         readily permits electronic filing.


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172-V   Rudy Giuliani to Newsmax TV: Pennsylvania               This exhibit is maintained by
        Lawsuit First of Many Efforts, Newsmax (Dec.            counsel and available upon
        21, 2020), available at, https://www.newsmax.co         request. As it is an audio/video,
        m/newsmax-tv/rudy-giuliani-pennsylvania-                the exhibit is not in a format that
        scotus-lawsuit/2020/12/21/id/1002628/.                  readily permits electronic filing.
173-V   Cats At Night Special Guest Rudy Giuliani,              This exhibit is maintained by
        77WABC (Dec. 23, 2020), available at, https://w         counsel and available upon
        ww.youtube.com/watch?v=HZ37DcM-nCM.                     request. As it is an audio/video,
                                                                the exhibit is not in a format that
                                                                readily permits electronic filing.
174-V   Weekly Briefing Interview with Giuliani, OAN            This exhibit is maintained by
        (Jan. 2, 2021), available at, https://app.criticalmen   counsel and available upon
        tion.com/app/#clip/view/74ed09be-0f2b-4c14-             request. As it is an audio/video,
        b9de-0ca0ad59952b?token=76f4002c-113c-4d95-             the exhibit is not in a format that
        b318-b3fe81b0c8b5.                                      readily permits electronic filing.
175-V   Chat with the Mayor: Georgia Runoff Looms,              This exhibit is maintained by
        77WABC (broadcast from Washington D.C.                  counsel and available upon
        Jan. 5, 2021), available at,                            request. As it is an audio/video,
        https://wabcradio.com/podcast/rudy-giuliani/.           the exhibit is not in a format that
                                                                readily permits electronic filing.
176-V   WATCH THIS BEFORE January 6th, Rudy                     This exhibit is maintained by
        Giuliani’s Common Sense (Jan. 5, 2021),                 counsel and available upon
        available at https://www.iheart.com/podcast/867-        request. As it is an audio/video,
        rudy-giulianis-common-sens-                             the exhibit is not in a format that
        72908742/episode/watch-this-before-january-6th-         readily permits electronic filing.
        75890773/.
182-V   Rudy Giuliani Speaks at Washington DC Save          This exhibit is maintained by
        America Rally, YouTube (Jan. 6, 2021),              counsel and available upon
        available at, https://www.youtube.com/watch?v=      request. As it is an audio/video,
        YNIIryv3PW8.                                        the exhibit is not in a format that
                                                            readily permits electronic filing.
183-V   Donald Trump Speech “Save America” Rally This exhibit is maintained by
        Transcript January 6, Rev.com (Jan. 6, 2021), counsel and available upon
        available at, https://www.rev.com/transcript- request. As it is an audio/video,
        editor/shared/7Nw_aFgSCwkywakGftVXzVw6N the exhibit is not in a format that
        TJEvtBTeS6rNigOo221hgTCjvDEnf_zvai7Hv5h readily permits electronic filing.
        mGYuImOca6TjcP2GuV0K1i_9pOY?loadFrom
        =PastedDeeplink&ts=3603.61.
193-V   Congressman Lou Correa stands up to Trump This exhibit is maintained by
        extremists in the airport, YouTube (Jan. 11, 2021), counsel and available upon
        available                                       at, request. As it is an audio/video,
        https://www.youtube.com/watch?v=7rDIE2xpuA the exhibit is not in a format that
        E.                                                  readily permits electronic filing.
                                                            *A transcript for this exhibit has
                                                            not been filed.



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195-V   Chat with the Mayor: Violent Rioters Must be           This exhibit is maintained by
        Condemned,       77WABC         (broadcast    from     counsel and available upon
        Washington, D.C. Jan. 7, 2021), available at,          request. As it is an audio/video,
        https://wabcradio.com/episode/violent-rioters-         the exhibit is not in a format that
        must-be-condemned-01-07-21/.                           readily permits electronic filing.
200-V   Chat with the Mayor: Direct Violation, 77WABC          This exhibit is maintained by
        (broadcast      from       Washington,        D.C.     counsel and available upon
        Nov. 23, 2020), available at, https://wabcradio.co     request. As it is an audio/video,
        m/podcast/rudy-giuliani/.                              the exhibit is not in a format that
                                                               readily permits electronic filing.
201-V   Uncovering the Truth with Rudy Giuliani & Dr.          This exhibit is maintained by
        Maria Ryan: Uncovering Voter Fraud, 77WABC             counsel and available upon
        (Nov.       29,       2020),      available   at,      request. As it is an audio/video,
        https://wabcradio.com/podcast/uncovering-the-          the exhibit is not in a format that
        truth-with-rudy-giuliani-maria-ryan/.                  readily permits electronic filing.
202-V   The ANSWER Exists in CONSTITUTION, Rudy                This exhibit is maintained by
        Giuliani’s    Common          Sense     (Dec.  2,      counsel and available upon
        2020), available at, https://www.youtube.com/wat       request. As it is an audio/video,
        ch?v=81hlgki4hk0.                                      the exhibit is not in a format that
                                                               readily permits electronic filing.
204-V   In Focus with Stephanie Hamill, OAN (Giuliani’s        This exhibit is maintained by
        interview broadcast from Washington, D.C. Dec.         counsel and available upon
        4,           2020),           available          at,   request. As it is an audio/video,
        https://app.criticalmention.com/app/#clip/view/70      the exhibit is not in a format that
        ebddad-8d73-4e94-8a7c-                                 readily permits electronic filing.
        7a1897437d92?token=9667991d-a9cf-4554-89fc-
        7585a7734f37.
205-V   Uncovering the Truth with Rudy Giuliani and Dr.        This exhibit is maintained by
        Maria Ryan: Uncovering Voter Fraud in                  counsel and available upon
        Georgia, 77WABC (broadcast from Washington,            request. As it is an audio/video,
        D.C.      Dec.      6,   2020),     available    at,   the exhibit is not in a format that
        https://wabcradio.com/podcast/uncovering-the-          readily permits electronic filing.
        truth-with-rudy-giuliani-maria-ryan/.
206-V   Chat with the Mayor: Paxton’s Fighting On,             This exhibit is maintained by
        77WABC (broadcast from Washington, D.C.                counsel and available upon
        Dec. 11, 2020), available at, https://wabcradio.co     request. As it is an audio/video,
        m/podcast/rudy-giuliani/.                              the exhibit is not in a format that
                                                               readily permits electronic filing.
207-V   Chat with the Mayor: We Will Keep Fighting,            This exhibit is maintained by
        77WABC (broadcast from Washington, D.C.                counsel and available upon
        Dec. 15, 2020), available at, https://wabcradio.co     request. As it is an audio/video,
        m/podcast/rudy-giuliani/.                              the exhibit is not in a format that
                                                               readily permits electronic filing.
208-V   Chat with the Mayor: Snow Troubles and a               This exhibit is maintained by
        Possible Second Shutdown, 77WABC (broadcast            counsel and available upon
        from     Washington,    D.C.   Dec.     16,            request. As it is an audio/video,


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        2020), available at, https://wabcradio.com/podcas      the exhibit is not in a format that
        t/rudy-giuliani/.                                      readily permits electronic filing.
209-V   Chat with the Mayor: Appoint New Electors,             This exhibit is maintained by
        77WABC (broadcast from Washington, D.C. Dec.           counsel and available upon
        22,          2020),           available        at,     request. As it is an audio/video,
        https://wabcradio.com/podcast/rudy-giuliani/.          the exhibit is not in a format that
                                                               readily permits electronic filing.
210-V   Rudy Giuliani Gives An Update On The Election          This exhibit is maintained by
        Lawsuits,     Bernie      &     Sid       in     the   counsel and available upon
        Morning, 77WABC (Dec. 23, 2020), available at,         request. As it is an audio/video,
         https://www.youtube.com/watch?v=gpIn2NXdA             the exhibit is not in a format that
        A4.                                                    readily permits electronic filing.
211-V   TalkRadio 77 WABC (@77WABCradio),                      This exhibit is maintained by
        Twitter (Dec. 23, 2020), available at, https://twitt   counsel and available upon
        er.com/77WABCradio/status/1341816433697828             request. As it is an audio/video,
        864.                                                   the exhibit is not in a format that
                                                               readily permits electronic filing.
214-V   Flash Update with Mayor Rudy Giuliani, The             This exhibit is maintained by
        Charlie Kirk Show (Jan. 4, 2021), available at,        counsel and available upon
        https://podcasts.apple.com/us/podcast/flash-           request. As it is an audio/video,
        update-with-mayor-rudy-                                the exhibit is not in a format that
        giuliani/id1460600818?i=1000504332071.                 readily permits electronic filing.
215-V   Uncovering the Truth with Rudy Giuliani & Dr.          This exhibit is maintained by
        Maria Ryan, 77WABC (Jan. 10, 2021),                    counsel and available upon
        available at, https://wabcradio.com/podcast/uncov      request. As it is an audio/video,
        ering-the-truth-with-rudy-giuliani-maria-ryan/.        the exhibit is not in a format that
                                                               readily permits electronic filing.
216-V   Rudy Giuliani: Pres. Trump is going to speak to        This exhibit is maintained by
        the American people, The Sara Carter Show              counsel and available upon
        (Jan. 11, 2021), available at,                         request. As it is an audio/video,
        https://www.spreaker.com/user/10614200/sara-           the exhibit is not in a format that
        carter-01112021-rudygiuliani-                          readily permits electronic filing.
        censor?utm_medium=widget&utm_source=user
        %3A10614200&utm_term=episode_title.
217-V   Uncovering the Truth with Rudy Giuliani &              This exhibit is maintained by
        Dr. Maria Ryan: Inauguration Security &                counsel and available upon
        Republican Party Future, 77WABC (Jan. 17,              request. As it is an audio/video,
        2021), available at, https://wabcradio.com/podcas      the exhibit is not in a format that
        t/uncovering-the-truth-with-rudy-giuliani-maria-       readily permits electronic filing.
        ryan/.
221-V   Freakout, War Room: Pandemic (Nov. 13, 2020),          This exhibit is maintained by
        available at, https://pandemic.warroom.org/2020/       counsel and available upon
        11/13/ep-499-pandemic-farce-w-john-fredericks-         request. As it is an audio/video,
        and-rudy-giuliani/.                                    the exhibit is not in a format that
                                                               readily permits electronic filing.



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 222-V   Weather the Storm, War Room: Pandemic (Nov.         This exhibit is maintained by
         27, 2020), available at, https://pandemic.warroom   counsel and available upon
         .org/2020/11/28/ep-544-pandemic/.                   request. As it is an audio/video,
                                                             the exhibit is not in a format that
                                                             readily permits electronic filing.
 223-V   Crisis At Our Own Making, War Room: Pandemic This exhibit is maintained by
         (Dec.        14,      2020),      available     at, counsel and available upon
         https://pandemic.warroom.org/2020/12/14/ep-         request. As it is an audio/video,
         582-pandemic-quest-for-justice-w-maggie-            the exhibit is not in a format that
         vandenberg-john-eastman-boris-epshteyn-phill-       readily permits electronic filing.
         kline-ben-bergquam-mark-finchem/.
 224-V   One Person One Vote, War Room: Pandemic             This exhibit is maintained by
         (Dec. 16, 2020), available at, https://pandemic.wa counsel and available upon
         rroom.org/2020/12/16/ep-588-pandemic-one-           request. As it is an audio/video,
         person-one-vote-w-maggie-vandenberghe-john-         the exhibit is not in a format that
         fredericks-michael-leahy-rudy-giuliani/.            readily permits electronic filing.
 225-V   America Under Attack, War Room: Pandemic This exhibit is maintained by
         (Dec.        19,      2020),      available     at, counsel and available upon
         https://listen.warroom.org/e/ep-597-pandemic-       request. As it is an audio/video,
         america-under-attack-w-maggie-vandenberghe-         the exhibit is not in a format that
         tony-shaffer-rudy-guliani-john-fredericks/.         readily permits electronic filing.
 226-V   Joe Pags Show, Twitch (Jan 21, 2021), This exhibit is maintained by
         available at, https://www.twitch.tv/videos/882795 counsel and available upon
         673.                                                request. As it is an audio/video,
                                                             the exhibit is not in a format that
                                                             readily permits electronic filing.
 227-V   Chat with the Mayor, 77WABC (Jan. 22, 2021), This exhibit is maintained by
         available        in     relevant        part    at, counsel and available upon
         https://app.criticalmention.com/app/#clip/view/a6 request. As it is an audio/video,
         d28d7d-10df-4f50-b601-                              the exhibit is not in a format that
         a9618d30dd27?token=c61d6a3e-e336-44f7-              readily permits electronic filing.
         8438-
         b22c6611f7fb, and https://app.criticalmention.co
         m/app/#clip/view/cfa46023-a414-45c4-9107-
         bba054e13868?token=c61d6a3e-e336-44f7-8438-
         b22c6611f7fb.

Date: January 25, 2021
                                            /s/ Thomas A. Clare, P.C.
                                           Thomas A. Clare, P.C. (D.C. Bar No. 461964)
                                           Megan L. Meier (D.C. Bar No. 985553)
                                           Dustin A. Pusch (D.C. Bar No. 1015069)
                                           10 Prince Street
                                           Alexandria, VA 22314
                                           (202) 628-7400
                                           tom@clarelocke.com


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                           megan@clarelocke.com
                           dustin@clarelocke.com

                           Attorneys for Plaintiffs




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